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                         Exhibit 2
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
   IN RE: AUTOMOTIVE PARTS                       Master File No. 12-md-02311
   ANTITRUST LITIGATION

                                                 Hon. Sean F. Cox
                                                 Mag. Judge R. Steven Whalen

   THIS DOCUMENT RELATES TO:

   ALL END-PAYOR ACTIONS


                    DECLARATION OF RANDI E. ALARCON

        I, Randi E. Alarcon, declare and state as follows:

        1.     I am the Research Analyst at Financial Recovery Services, LLC d/b/a

  Financial Recovery Strategies (“FRS”), and I am a duly admitted attorney in the

  State of New York. In that capacity, and in addition to my primary research

  responsibilities concerning class and other representative action case filings and

  other public records research, my responsibilities include assisting FRS’s Legal

  Department with legal matters.

        2.     I submit this declaration in support of FRS’s Motion to Intervene.

  This declaration is based on my personal knowledge of the relevant

  communications.

        3.     On December 20, 2019, I contacted the Chambers of the Honorable

  Marianne O. Battani by telephone to inquire regarding the status of FRS’s letter
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  brief dated December 13, 2019. At that time, Judge Battani’s clerk, Molly

  Roehrig, advised that FRS may need to intervene to perfect the submission of its

  motion and obtain the relief it sought.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct.




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    Executed this 18th day of June 2020, in Bayport, New York.



                                                     Randi E. Alarcon




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